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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

                                      x
  D. JOSEPH KURTZ, Individually and on: Civil Action No. 1:14-cv-01142-PKC-RML
  Behalf of All Others Similarly Situated,
                                      :
                                      : CLASS ACTION
                     Plaintiff,       :
                                      :
       vs.                            :
                                      :
  KIMBERLY-CLARK CORPORATION, et al., :
                                      :
                     Defendants.
                                      :
                                      x

        PLAINTIFF’S MOTION FOR (1) FINAL APPROVAL OF CLASS ACTION
      SETTLEMENT; (2) CLASS COUNSEL’S APPLICATION FOR AN AWARD OF
       ATTORNEYS’ FEES AND EXPENSES; AND (3) CLASS REPRESENTATIVE
                                 PAYMENT
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         PLEASE TAKE NOTICE that plaintiff Dr. D. Joseph Kurtz (“Dr. Kurtz” or “Plaintiff”), on

  his own behalf and on behalf of all other Settlement Class Members, through Class Counsel Robbins

  Geller Rudman & Dowd LLP (“Robbins Geller”), will move this Court on August 30, 2024 at

  10:00 a.m., before The Honorable Pamela K. Chen, pursuant to Rule 23 of the Federal Rules of Civil

  Procedure, for entry of a Final Order and Judgment 1 approving the proposed Settlement as fair,

  reasonable, and adequate and finally certifying the Settlement Class. Class Counsel will also move

  this Court for an order awarding the requested attorneys’ fees and expenses, and class representative

  payment.

         PLEASE TAKE FURTHER NOTICE that in support of this motion, Plaintiff submits and is

  filing herewith: (i) Plaintiff’s Memorandum of Law in Support of: (1) Plaintiff’s Motion for Final

  Approval of Class Action Settlement; (2) Class Counsel’s Application for an Award of Attorneys’

  Fees and Expenses; and (3) Class Representative Payment; (ii) the Declaration of Vincent M. Serra

  in Support of Plaintiff’s Motion for Final Approval of Class Action Settlement, Class Counsel’s

  Application for an Award of Attorneys’ Fees and Expenses, and Class Representative Payment and

  exhibits thereto; and (iii) the Declaration of Vincent M. Serra Filed on Behalf of Robbins Geller in

  Support of Application for Award of Attorneys’ Fees and Expenses and exhibits thereto.

  DATED: July 26, 2024                          ROBBINS GELLER RUDMAN
                                                  & DOWD LLP
                                                SAMUEL H. RUDMAN
                                                VINCENT M. SERRA
                                                FRANCIS P. KARAM
                                                JOSHUA D. FORGY

                                                                /s/ Vincent M. Serra
                                                               VINCENT M. SERRA

  1
      Plaintiff inadvertently did not submit the [Proposed] Final Approval Order and Judgment as
  Exhibit D to the Settlement Agreement. The [Proposed] Final Approval Order and Judgment is
  attached hereto.
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